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 7                                UNITED STATES DISTRICT COURT
 8
                                 WESTERN DISTRICT OF WASHINGTON
 9
                                            AT TACOMA
10
           UNITED STATES OF AMERICA                         NO. CR05-5504FDB
11
                                                         Order Re: 2nd Motion to Continue PTM
12                                                       Deadline For All Parties
                                        Plaintiff,
13
                     v.
14         JOSE MENDOZA, et. al.

15                                      Defendants.
16
17                                               Order

18             Mr. Mendoza moves the Court to extend the pretrial motions cut-off for all

19   parties from 9/14/2005 to 10/5/2005. All parties, including the Government, stipulate to
20   the same. Good cause exists to extend the deadline in light of the defendants’ need to
21   review additional discovery, which has not yet been produced.
22   //
23
     //

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                                                                            PHIL BRENNAN, Esq.
          Order Continuing PTM                                                  P.O. Box 22837
                                                                               Seattle, WA 98122
                                                                                (206) 372-5881


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 1
 2   Accordingly, the Court GRANTS the motion. The new Pretrial Motions Cut-off for all

 3   defendants is 10/5/2005.

 4   Entered this 15th day of September, 2005.

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                                                 A
                                                 FRANKLIN D. BURGESS
                                                 UNITED STATES DISTRICT JUDGE
 9
     Presented By:
10   /s/_______________________
     Phil Brennan; Date: 9/14/05
11   Atty for Def. Mendoza
     We stipulate to this motion:
12
13   /s/ per email ok
     Linda Sullivan
14   Date: 9/14/05
     Atty for Def. McIlwain
15
     /s/ per phone ok
16   Chuck Johnson
     Date: 9/14/05
17   Atty for Def. Barragan
18
     /s/ per email ok                                 /s/ per email ok
19   Roger Hunko;                                     Keith Macfie
     Date: 9/13/05                                    Dated: 9/13/05
20   Atty for Def. Penn                               Atty for Def. Miller
21   /s/ per email ok                                 /s/ per phone ok
     Michael Schwartz                                 Gregory Gruber
22   Date: 9/14/05                                    Date: 9/13/05
23   Atty for Def. Winans                             AUSA




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